                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION

Las Americas Immigrant Advocacy       §
Center, et al.                        §
                                      §     NO: AU:23-CV-01537-DAE
      Plaintiffs,                     §
vs.                                   §
                                      §
Steven C. McCraw, et al.              §
                                      §
      Defendant.


                    ORDER SETTING STATUS CONFERENCE
      It is hereby ORDERED that the above entitled and numbered case is set

for a STATUS CONFERENCE before Senior U.S. District Judge David A. Ezra

in Courtroom 2, on the Fourth Floor of the United States Courthouse, 501 West

Fifth Street, Austin, TX, on Thursday, February 01, 2024 at 11:15 AM.

      IT IS SO ORDERED.

      DATED: Austin, Texas January 31, 2024.




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                                          DAVID A. EZRA
                                          SENIOR U.S. DISTRICT JUDGE
